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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                           Case No. 15-cr-20597

v.                                                         Honorable Thomas L. Ludington

D-1 DANIEL JASON HARRINGTON,

                      Defendant.

_______________________________________/

 OPINION AND ORDER DENYING MOTION TO COMPEL, DENYING MOTION TO
              EXCLUDE, AND DENYING MOTION TO SEVER

       The Government indicted Daniel Jason Harrington on September 23, 2015 and charged

him with three counts of violating the United States drug laws, including a charge of conspiring

to distribute methamphetamine. Indict., ECF No. 1. Harrington was charged with a codefendant,

Michael Eugene Foster. On December 9, 2015, Harrington moved to compel the Government to

identify certain statements made by Harrington’s alleged coconspirators. Def.’s Mot. Compel,

ECF No. 19. He also moved to exclude certain “other acts” evidence that the Government may

introduce under Federal Rule of Evidence 404(b). Def.’s Mot. Exclude, ECF No. 21. That same

day, the Government handed down its first superseding indictment. Supers. Indict., ECF No. 22.

       By April 13, 2016, the Government had handed down two more superseding indictments

against Harrington. See Second Supers. Indict., ECF No. 40; Third Supers. Indict., ECF No. 54.

The Third Superseding Indictment added another defendant to the case: Juan Gabriel Morfin.

Michael Foster, Harrington’s original codefendant, pled guilty on January 8, 2016.

       After the Third Superseding Indictment was issued, Harrington moved to sever his trial

from the trial of Defendant Morfin. He argued that they would present mutually antagonistic
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defenses that required separate trials. All three motions filed by Harrington were heard on May

10, 2016.

                                                           I.

           The Third Superseding Indictment charges Harrington and Morfin with participating in a

conspiracy to distribute methamphetamine from approximately winter of 2013 until September

of 2015.1 The two would distribute methamphetamine by having Morfin ship packages

containing the substance from California to Harrington in Michigan. Harrington would

compensate Morfin for the shipments through wire transfer. Harrington would also sometimes

travel to California in a rental car to obtain methamphetamine.

           Harrington was arrested on August 6, 2014. Following his arrest he offered to cooperate

with law enforcement. According to the Government, Harrington did not fully cooperate but

independently continued his drug enterprise. This included making additional trips to California

and other Michigan locations to retrieve packages of methamphetamine. Harrington also,

according to the Government, received six more shipments of methamphetamine, his preferred

method of acquiring the drug from Morfin.

                                                           II.

           First, Harrington moves to compel the Government to “identify any statements it intends

to introduce under the authority of [Federal Rule of Evidence] 801(d)(2)(E) (coconspirators’

statements).” Def.’s Mot. Compel, ECF No. 19. Harrington labels his motion one to compel, but

he also seeks to challenge the admissibility of those statements in advance of trial. Since he seeks

to compel the statements, he does not know at this time what those statements are.

           Evidence admitted under Federal Rule of Evidence 801(d)(2)(E) must be admitted

conditionally under Federal Rule of Evidence 104(a) in order to be used at trial. See United
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    The indictment also charges the two with other, related drug crimes.

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States v. Enright, 579 F.2d 980, 984 (6th Cir. 1978) (holding that Rule 104(a), not (b) governs

preliminary determinations of the admissibility of hearsay). Rule 104(a) provides that “the court

must decide any preliminary question about whether . . . evidence is admissible.” In Enright, the

Sixth Circuit set forth the test for determining whether co-conspirator hearsay statements are

conditionally admissible.

       Under the Enright test, before a statement by a co-conspirator can be admitted as non-
       hearsay pursuant to Fed.R.Evid. 801(d)(2)(E), the party offering it must show by a
       preponderance of the evidence that (1) the conspiracy existed; (2) the defendant was a
       member of the conspiracy; and (3) the co-conspirator's statements were made in
       furtherance of the conspiracy.

United States v. Ervin, 266 F. App’x 428, 433-434 (6th Cir. 2008). The government carries the

burden of showing that this initial proof is satisfied. Id. Enright contemplates this determination

being made by the Court prior to trial. United States v. Vinson, 606 F.2d 149, 152 (6th Cir.

1979). The benefit of the Enright procedure is that it results in a definitive determination of

admissibility. It also “avoids ‘the danger . . . of injecting the record with inadmissible hearsay in

anticipation of proof of a conspiracy which never materializes.’” Vinson, 606 F.2d at 152-53

(quoting United States v. Macklin, 573 F.2d 1046, 1049 n. 3 (8th Cir. 1978))

       But there are drawbacks to the preliminary Enright determination. One of them is that the

determination “may also coincide with an ultimate question of fact for the jury” as it does here.

Enright, 579 F.2d at 986. The Enright court thought this an acceptable risk but the Vinson court

advised that it is “not . . . appropriate to set forth hard and fast procedures” regarding the order of

proof at trial. Vinson, 606 F.2d at 152. As such, Vinson contemplated three different procedures

for handling hearsay. A district court judge may do so “(a) after the government has established

the conspiracy by a preponderance at the trial, or (b) at a “mini-hearing,” or (c) conditionally

subject to connection.” Vinson, 606 F.2d at 153. The warnings of Enright and Vinson are well-



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heeded, but sufficient facts have been provided to determine preliminarily, for the purposes of

admission at trial, whether a conspiracy existed by a preponderance of the evidence. It does.

       To prove a conspiracy existed, the government must show: “First, that two or more

persons conspired or agreed” to distribute and possess with intent to distribute

methamphetamine; “Second, that the defendant knowingly and voluntarily joined the

conspiracy.” 6th CIR. PATTERN JURY INSTR. CRIM. Chapter 14.05. Agreement “does not require

proof of any formal agreement, written or spoken.” Id. “An agreement can be proved indirectly,

by facts and circumstances which lead to a conclusion that an agreement existed.” Id.; see also

United States v. Avery, 128 F.3d 966, 971 (6th Cir. 1997). “Although mere presence at the crime

scene is insufficient to show participation, a defendant’s participation in the conspiracy’s

common purpose and plan may be inferred from the defendant’s actions and reactions to the

circumstances.” United States v. Salgado, 250 F.3d 438, 447 (6th Cir. 2001).

       Sufficient evidence has been presented to conclude by a preponderance of the evidence

that Harrington and Morfin willfully agreed to enter into a conspiracy to violate the drug laws.

As articulated on the record during the Government’s proffer, Harrington did not terminate his

participation in the conspiracy following his arrest on August 6, 2014 and his putative

cooperation that began that day. In the month that followed Harrington’s arrest, he continued to

arrange for shipments of methamphetamine from Morfin and make wire transfers to Morfin to

compensate him for the drugs.

       Harrington’s participation in an ongoing conspiracy is further corroborated by two

instances where he lied or otherwise misled law enforcement about his whereabouts or why he

was in a specific location. On one occasion he called an officer from, supposedly, Jackson,

Michigan. But one of Harrington’s compatriots revealed that Harrington had actually travelled to



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California to retrieve methamphetamine. On another occasion, Harrington was stopped in

Saginaw, Michigan and eventually admitted that he was headed to Flint, Michigan to retrieve a

shipment of methamphetamine that he had not previously informed law enforcement of.

       For the purposes of Rule 801(d)(2)(E), there is sufficient evidence of a conspiracy

between Harrington and Morfin to allow the statements to be conditionally admitted at trial. At

that time Harrington may challenge them if he believes their exclusion warranted under Rule

801(d)(2)(E).

       As for Harrington’s motion to compel, it will be denied. Harrington premised his

justification for seeking compulsion on the fact that he needed to be able to challenge the

statements in advance of trial. That justification, as just explained, is insufficient in light of the

Government’s proffer. Harrington offers no other grounds to compel the statements. His motion

will be denied.

                                                 III.

        Second, Harrington has moved to exclude “other acts evidence” pursuant to Federal Rule

of Evidence 404(b). Def.’s Mot. Excl., ECF No. 21. He does not identify any specific evidence

he seeks to exclude, but would nevertheless like to exclude any Rule 404(b) evidence that the

Government may offer.

       The Government responds by noting that it has not furnished a Rule 404(b) notice and at

this point does not intend to offer other acts evidence.

       Accordingly, Harrington’s motion is premature and perhaps altogether irrelevant. If the

Government furnishes a Rule 404(b) notice, Harrington may renew his argument and tailor it to

the specific evidence identified by the Government. Since none has been identified and the




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Government has not demonstrated any intent to offer such evidence, Harrington’s motion will be

denied.

                                               IV.

          Finally, Harrington has moved to sever himself from his new co-defendant, Juan Morfin.

He admits that he “does not have knowledge of whether Defendants’ claims herein are mutually

exclusive requiring severance” and that he “does not have knowledge of whether Juan Morfin’s

statements implicate Daniel Harrington requiring severance.” Def.’s Mot. Sever ¶¶ 4–5, ECF No.

60.

          Pursuant to Rule 8 of the Federal Rules of Criminal Procedure, an indictment “may

charge a defendant in separate counts with 2 or more offenses if the offenses charged . . .

constitute parts of a common scheme or plan.” FED. R. CRIM. P. 8. “For the sake of promoting

efficiency and avoiding the potential for inconsistent verdicts, joint trials of defendants who are

indicted together are actually encouraged rather than discouraged.” United States v. Cope, 312

F.3d 757, 779 (6th Cir. 2002) (citing Zafiro v. United States, 506 U.S. 534, 537 (1993)).

Harrington has been indicted jointly with Morfin on charges of conspiring to distribute

methamphetamine. ECF No. 54.

          Severance of joined defendants is governed by Rule 14 of the Federal Rules of Criminal

Procedure. When “a consolidation for trial appears to prejudice a defendant or the government,

the court may order separate trials of counts, sever the defendants’ trials, or provide any other

relief justice requires.” FED. R. CRIM. P. 14(a). The standard for severance under Rule 14 is not

mere prejudice but rather whether “there is a serious risk that a joint trial would compromise a

specific trial right of one of the defendants, or prevent the jury from making a reliable judgment

about guilt or innocence.” Zafiro, 506 U.S. at 539 (emphasis added). Such prejudice does not



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erect an insurmountable bar to a joint trial; for example, the harm wrought by the prejudice of a

joint trial may be cured through a trial court’s limiting instructions. See Cope, 312 F.3d at 780

(citing Zafiro, 506 U.S. at 539).

       The prejudice contemplated by Rule 14 can arise where defendants present mutually

antagonistic defenses. See Zafiro, 506 U.S. at 538. The standard for severance based on mutually

antagonistic defenses is a high one. Antagonistic defenses are not per se prejudicial. See Zafiro,

506 U.S. at 539. For a severance to be granted on these grounds the conflicting defenses must be

so antagonistic as to confuse the jury. See United States v. Vinson, 606 F.2d 149, 154 (6th Cir.

1979) (“Absent some indication that the antagonism between co-defendants misled or confused

the jury, the mere fact that co-defendants attempt to blame each other does not compel

severance.”) The defendant carries the burden of proving this prejudice and must do so by

“making a strong showing of factually specific and compelling prejudice” that “demonstrate[s]

the jury’s inability to distinguish the evidence relevant to each defendant.” United States v.

Benton, 852 F.2d 1456, 1469 (6th Cir. 1988).

       Harrington claims that by being tried with Morfin, the two will present mutually

exclusive defenses such that the acquittal of one will necessarily result in the conviction of the

other. Harrington does not explain how he reaches this conclusion. A rationale cannot be

surmised in light of Harrington’s admission that he lacks knowledge of Morfin’s defense,

Morfin’s statements, or whether the two Defendants’ defenses are mutually exclusive.

Harrington’s motion will be denied.

       Harrington does argue, as he did in his motion to compel, that his participation in the

conspiracy ended on August 6, 2014. As such, any statements made after that date by Morfin are

inadmissible under Rule 801(b)(2)(E) and severance is the only way to shield Harrington from



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those statements being introduced against Morfin and being used against him. This argument has

already been addressed and is, presently, without merit. The Government made an adequate

proffer to establish that the conspiracy between Harrington and Morfin was ongoing after August

6, 2014 and, consequently, that any statements by Morfin after that point are conditionally

admissible for purposes of Rule 801(d)(2)(E).

                                                          V.

       Accordingly, it is ORDERED that Defendant Daniel Jason Harrington’s Motion to

Compel, ECF No. 19, is DENIED.

       It is further ORDERED that Defendant Daniel Jason Harrington’s Motion to Exclude,

ECF No. 21, is DENIED.

       It is further ORDERED that Defendant Daniel Jason Harrington’s Motion to Sever, ECF

No. 60, is DENIED.



Dated: June 10, 2016                                             s/Thomas L. Ludington
                                                                 THOMAS L. LUDINGTON
                                                                 United States District Judge

                                                PROOF OF SERVICE

                       The undersigned certifies that a copy of the foregoing order was served
                       upon each attorney or party of record herein by electronic means or first
                       class U.S. mail on June 10, 2016.

                                                         s/KIM GRIMES_______________
                                                         Kim Grimes Acting in the Absence of
                                                         Michael A. Sian, Case Manager




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